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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

MELANIE DAVIS, on behalf of herself and            Civil Case No.: 18-cv-81004
all others similarly situated,

                       Plaintiff,
v.

POST UNIVERSITY, INC.,

                       Defendant.

                            MOTION TO CORRECT COMPLAINT

        On July 30, 2018, Plaintiff filed a complaint initiating the instant matter. However,

Plaintiff’s counsel inadvertently filed a version with the date for the class period blank in

paragraph 73 (e.g. July __, 2014). This was a clerical error. As the date for the class period was to

be four years prior to the filing date (due to the four-year statute of limitations), these dates were

intended to be filled in immediately prior to filing. Plaintiff’s counsel apologies for the error, and

respectfully asks that the Court allow the attached corrected complaint to serve as the operative

complaint.

Date: July 31, 2018           Respectfully submitted,



                                      s/ Bradford R. Sohn
                                     Bradford R. Sohn
                                     Fla. Bar No. 98788
                                     brad@sohn.com
                                     The Brad Sohn Law Firm PLLC
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                                     Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Correct was

served by the ECF filing system and via certified mail on July 31, 2018, on all counsel or parties

of record on the service list.

Date: July 31, 2018                                Respectfully submitted,



                                                           s/ Bradford R. Sohn
                                                          Bradford R. Sohn
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                                    SERVICE LIST



Post University
c/o Corporation Service Company
50 Weston Street
Hartford, CT 06120
